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lN THE ClRCUIT COURT OF THE 7TH
JUDICIAL CIRCUIT IN AND FOR BREVARD
COUNTY, FLORIDA

CASF. NO.:

,3-¢% » SQGF<

STOYAN STOYANOV,
Plaintiff, {p f
/9 ' CA/ ' L/

CECIL R. COUCH and
SOUTHEASTERN FREIGHT
I..INES. lNC. a foreign corporation,

VS.

Det`endants.
/

COMPLA!NT FOR DAMAGES

 

COMES NOW the PlaintiFt`, S'I`OYAN STOYANOV, by and through his undersigned counsel
and sues thc Dcfendants, CECIL R. COUCH, and SOUTHE.ASTERN FREIGHT LlNl:`.S l'NC., a foreign
corporation. and alleges:

l. This is an action for damages in excess of the sum of Fif`tcen Thousand Dollars
($| 5,000.00), exclusive of interest, costs, and attomeys’ fees.

2. 'l`hat at all times material hereto, the Plaintiff`, STOYAN STOYANOV, was and is a
resident of Volusia County, Florida and is .\~uijuris.

3. That at all times material hercto, thc Defendant, CECIL R. COUCH, was a resident of
Fayette County, Georgia, and is sui juris.

4. Thal at all times material hereto, the Dcfendant, SOUTHEASTERN FRElGl-l'l` l.lN ES
lNC., was and is a foreign corporation licensed to transact business in thc state of Florida and was
conducting business in Brcvard County, Florida.

5. That the Plaintift`, STOYAN STOYANOV, has satisfied and met the pre-requisites of the

Florida “No Fault" act of 1982 and all amendments thereto.

 

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6. 'l'hat venue is proper in Brevard County, because the crash occurred in Brevard County,
Florida and the Defendant transacts business in Brevard County, l'~`lorida.

7. That at all times material hcreto, the Defendant, SOUTHEASTERN FRElGHT LINES
lNC., did employ the Del`endant, CECIL R. COUCH, and at the time of the incident complained of, the
Def`endant, CE,ClL R. COUCH, was acting within the course and scope of his employment with the
Del`endant, SOUTHEAS'I`ERN FREIGHT LlNES l'NC.

8. That at all times material hereto, the Def`endant, SOUTHEASTE.RN FRE,IGHT LINES
lNC., did own, control, and maintain a 2007 lnternational 'l`ractor Trailer, Vchicle Licensc Number
23952HY, and Vchicle ldentif`lcation Number 2HSCF.SBR87C28064.

COUNT l
NEGLIGENCE AGA|`NST DEFENDANT, CECIL R. COUCH

9. Thc Plaintif`t`, STOYAN STOYANOV. realleges and reavers each and every allegation
contained in paragraphs l - 8 above and further alleges:

lO. That on or about June 6, 2009, the Defendant, CECIL R. COUCH, operated the subject
2007 lntemational Tractor Trailer, Vchicle License Number 23952HY, and Vehicle ldentification Number
2HSCESBR87C28064.

ll. That on or about June 26, 2009 the Dcfendant, CEClL R. COUCH, while in thc course
and scope of his employment with the Dcfendant, SOU'['HEASTERN FRElGHT LINES lNC., operated
the above noted vehicle.

12. That on or about Junc 26, 2009 at approximately 5:45 am, thc Dei`endant1 CF.ClL R.
COUCH, operated the above described tractor trailer at or near the intersection of lnterstatc 95 and SR
5|9, Rockledgc, Brevard County, Florida.

13. That the Det`endant, CEC[L R. COUCH, operated the subject tractor trailer with the
permission and consent of its owner, SOU'I`HEASTERN FRElGl~lT LT'NES lNC.

14. 'l`hat the Defcndant, CEClL R. COUCH, had a duty to operate and/or maintain said motor

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vehicle in a reasonable and safe manner.

i$. That at the aforementioned time and plaee, the Dcfendant, CECIL R. COUCH negligently
and carelessly operated the above described tractor trailer so that it collided with the vehicle the Plaintifi`
was operating

16. As a direct, foreseeable and proximate result of the negligence of the Defcndant, CEClL
R. COUCH, as aforesaid, thc Plaintil`f, STOYAN STOYANOV was injured in and about his body and
extremities and has suffered the following items of damages:

a) Past, present, and future disability, discomfort. disfigurement,
inability to lead a normal life, shame, humiliation and scarring;

b) Past, prcsent, and future mental pain and suffering;

c) Past, prescnt, and future medical and related expenses;

d) Past, prescnt, and future loss of earnings and earning capacity;
e) Past, present, and future aggravation of a pre»existing condition.

l7. That the injuries sustained by the Piaintiff. STOYAN STOYANOV as permanent and
continuing in nature and the Plaintiff will suffer such losses and impairments in the future.
WHEREFOR.E, the Plaintiff, STOYAN STOYANOV demands judgment against the Defendants,
CEC|L R. COUCH, and SOUTHEASTERN FRF.lGl~lT LINES iNC., for a sum in excess of FTFTEEN
THOUSAND DOLLARS (S l 5,000.00), plus interest and eosts.
Plaintiff demands trial by jury of all issues so triable as a matter of right
_C.?_O_ll§ll_l.

NEGLIGENCE AGAINST DEFENDANT,
SOUTHEASTERN FREIGHT LINES INC.

 

18. The I’laintiff, STOVAN STOYANOV, realleges and rcavers each and every allegation
contained in paragraphs l - 8 above and further alleges:
l9. That on or about .lune 26, 2009, the Dei`endant, CECIL R. COUCH, operated the subject

2007 lntemational Traetor Trailer, Vehiele Liccnse Number 23952HY, Vchicle ldentification Number

 

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2HSCESBR87C238064.

20. That on or about June 26, 2009, the Dcfendant, CEClL R. COUCH, while in the course
and scope of his employment with the Dcfendant, SOUTHEASTERN FREIGHT LlNES INC., operated
the above noted vehicle.

21. That on or about June 26, 2009 at approximately 5:45 a.m., thc Dcfendant, CEClL R.
COUCH, operated the above described tractor trailer at or near the intersection of Interstate 95 and SR
519, Rockledgc, Brevard County, I~`lorida.

22. That the Dcfendant, CECII. R. COUCH, operated the subject tractor trailer with the
permission and consent of its owner, SOUTHEASTERN FREIGHT LlNES lNC.

23. That the Dcfendant, CECIL R. COUCH, had a duty to operate and/or maintain said motor
vehicle in a reasonable and safe manner.

24. That at the aforementioned time and place, the Dcfendant, CECIL R. COUCH negligently
and carelessly operated the above described tractor trailer so that it collided with the vehicle the Plaintiff
was operating.

25. The Dcfendant, SOUTHEASTERN l~`RElGHT LlNES INC., is vicariously liable for the
negligent acts of its employee, CECIL R. COUCH.

26. As a direct, foreseeable and proximate result of the negligence of the Defendants, CEC|L
R. COUCH, and SOUTHEASTERN FRElGl-I'I` l,lNES iNC., as aforesaid, the Plaintiff, STOYAN

STOYANOV was injured in and about his body and extremities and has suffered the following items of

damages:
a) Past, present, and future disability, discomfort, disiigurement,
inability to lead a normal life, shame, humiliation and scarring;
b) l"ast, present, and future mental pain and suffering;
c) Past, present, and future medical and related expenses;

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d) Past, present, and future loss of earnings and earning capacity;
e) Past, present, and future aggravation of a pre-existing condition.
27. That the injuries sustained by the Plaintil`f, STOYAN STOYANOV as permanent and
continuing in nature and the Plaintiff will suffer such losses and impairments in the future
\VHEREFORE, the Plaintiff, STOYAN STOYANOV dcmandsjudgment against the Del`endants,
SOUTHEASTERN FREIGHT LINES lNC., for a sum in excess ofFlFTEEN THOUSAND DOLLARS
(315,000.00), plus interest and costs.

Plaintil`l` demands trial by jury of all issues so triable as a matter of right.

%;z

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